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IN THE UNITED STATES BANKRUPTCY COURT oe

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FOR THE DISTRICT OF DELAWARE segyeiy 3 FOS 7
Liebe
In re: Chapter oe
W.R. GRACE, CO., Case No. 01-01139 (JJF)

Debtors.

REQUEST FOR SERVICE OF PAPERS

Pursuant to Bankruptcy Rules 2002, 3015 and 9007, the undersigned request that all
documents filed with the Court and all notices which the Court and/or any party provides in

accordance with Bankruptcy Rule 2002 be served upon the persons set forth below:

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This request includes all papers, reports, orders, notices, applications, motions, petitions,
disclosure statements, plans of readjustment of debts or reorganization, pleadings, appendices,
exhibits, requests or demands, whether formal or informal, whether written or oral, and
transmitted or conveyed by mail, courier service, telephone, facsimile, telegraph, telex or
otherwise.

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Dated: May 3, 2001 él

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CERTIFICATE OF SERVICE
I, JOSEPH GREY, hereby certify that on this day of 3 May, 2001 I caused the
foregoing NOTICE OF APPEARANCE AND REQUEST FOR SERVICES OF PAPERS to be
served via first class mail (unless otherwise specifically indicated), postage prepaid, upon all

parties identified on the attached Service List:

AR Ca
JOS H GREY (_)

SLI 163220v1/11821.001

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